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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


    In re VALEANT PHARMACEUTICALS                   )
    INTERNATIONAL, INC. SECURITIES                  )     Master File No. 3:15-cv-0765$
    LITIGATION                                      )     (MAS) (LHG)

                                                   )     STIPULATION AND
    This Document Relates To:                      )     ORDER EXTENDING THE VAC
                                                   )     DEFENDANTS’ TIME TO FILE
           No. 3:15-CV-07658 MAS-LHG               )     REPLY PAPERS



          This Stipulation is entered into between Lead Plaintiff TIAA (‘Lead Plaintiff’) and

   Defendants ValueAct Capital Management L.P., VA Partners I, LLC, ValueAct Holdings, L.P.,

   ValcieAct Capital Master F itnd, L.P., ValueAct Co-Invest Master Fund, L.P., and Jeffrey W.

   Ubben (collectively, the “VAC Defendants”).

          WHEREAS, Lead Plaintiff filed a First Amended Consolidated Complaint (the ‘FAC”)

   on September 20, 2018;

          WHEREAS, the VAC Defendants moved to dismiss the FAC on October31, 2018,

   setting a motion day of December 3, 2018;

          WHEREAS, Lead Plaintiff filed a response in opposition on November 19, 2018;

          WHEREAS, the VAC Defendants’ deadline to file reply papers is currently November

   26, 2018;

          WHEREAS, given the intervening Thanksgiving holiday, the VAC Defendants request a

   one-week extension of their reply submission deadline to December 3, 2018, with a

   corresponding adjournment of the motion day; and

          WHEREAS, Lead Plaintiff does not object to the VAC Defendants’ request;
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          IT IS HEREBY STIPULATED AND AGREED by the undersigned that the motion day

   for the VAC Defendants’ motion to dismiss the FAC is extended to December 10, 2018, and the

   VAC Defendants’ time to file reply papers is extended to December 3, 20 18.



   ALLEN BURTON                                    CHRISTOPHER A. SEEGER
   O’MELVENY & MYERS LLP                           SEEGER WEISS LLP



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   Counselfor Defendants Jeffrey W. Ubben,         Local Cottnselfor Plaintiffs
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   Master Fund, L.P., VA Partners I, LLC,          ROBBINS GELLER RUDMAN
   ValueAct Capital Management LP., and             & DOWD LLP
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                                                   Telephone: (312) 674-4674

                                                   Counselfor Lead Plaintff TL4A



   SO ORDERED, on thisjiay of T\JjeyiJ3[                 ,   2018.




   Michael A. Shipp, U.S.D.J.
